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 1   CLEMENTE M. JIMÉNEZ, SBN 207136
     428 J Street, Suite 355
 2
     Sacramento, CA 95814
 3   (916) 443-8055
 4   Attorney for Defendant
 5   JOSE BRAVO
 6                                   IN THE UNITED STATES DISTRICT COURT
 7
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                          Case No.: 10-229 WBS
10
                          Plaintiff,                    STIPULATION AND ORDER
11                                                      VACATING DATE AND CONTINUING
12             v.                                       CASE
13   JOSE BRAVO,                                        DATE: October 1, 2012
14                                                      TIME: 9:30 a.m.
                                                        JUDGE: Hon. William B. Shubb
15                        Defendant.
16
17   IT IS HEREBY STIPULATED by and between Assistant United States Attorney Jason
18   Hitt, Counsel for Plaintiff, and Attorney Clemente M. Jiménez, Counsel for Defendant
19   JOSE BRAVO, that the sentencing hearing scheduled for October 1, 2012, at 9:30 a.m.,
20   be vacated and the matter continued to this Court’s criminal calendar on November 5,
21   2012, at 9:30 a.m. for judgment and sentencing. Following discussions with the
22   government, counsel have determined that there remain issues related to guideline
23   calculations that must be addressed prior to sentencing. Counsel will require additional
24   time to confer with Mr. Bravo and the government to address those issues. All parties
25   anticipate being prepared to proceed with sentencing on November 5th.
26   //
27   //
28   //



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 1   DATED:               September 27, 2012           /S/   Jason Hitt___________
                                                       JASON HITT
 2
                                                       Attorney for Plaintiff
 3
 4                                                     /S/   Clemente M. Jiménez________
 5                                                     CLEMENTE M. JIMÉNEZ
                                                       Attorney for JOSE BRAVO
 6
 7
 8                                             ORDER
 9
     IT IS SO ORDERED, that the sentencing hearing in the above-entitled matter, scheduled
10
     for October 1, 2012, at 9:30 a.m., be vacated and the matter continued to November 5,
11
     2012, at 9:30 a.m. for judgment and sentencing.
12
13   This 28th day of September, 2012
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